Case 4:12-cv-40022-TSH Document 1-3 Filed 02/27/12 Pagetofts £yhbrt4

. . ry - :
, Ny / LA \
Received at: 10:22AM, 1/21/2011. Cy ey

Jan 2 2011 3:21PM,
: HOLL ‘
165 MILL ST .

LEOMINSTER, MA 01453
Phone: 978-466-3333
Fax: 978-466-3241

Tor + . rer Tennille
. i i pha. .
. dil MEDICAL SPECIALTIES -— Lhcuma-folog A
pet TR BYSOGSP water ff Bie a]
Phone: a . Pages: 45 .

Re: . Gc:

. Ourgent _ OForReviey O Please Comment OPleaseReply 1 Please Recycle

»Gonmmentss

The information contained in the facsimile messaga_ Is privileged and confidential information intended
for.the use of the addressee listed above. If you are neither the Intehded recipient hor the employes or
agent responsible for delivering (his information to the intended recipient, you are hereby notified that
any disclosure, copying, distribution, or taking of any action on the content of this telecopled information
is strictly prohibited.

if you received this information in error, please notify us immediately by telephone. (see above}
Case 4:12-cv-40022-TSH Document 1-3 Filed 02/27/12 Page 2 of 5

Received at: 10:22AM, 1/21/2011

an. 21. 2011. 3:222M - No 6372

Cérfification of Health Care Provider for U.S. Department of Labor

Employee’s Serious Health Condition Employment Standards Administration alte
(Family and Medical Leave Act) Wege and Hour Diviston US. Noyron Hour Dison

ree

OMB Control Number 1215-0181
Expires: 12/31/2011

TONE IGkonCamplshon lytiest Vii Owee.
INSTRUCTIONS co the EMPLOYER: The Family and Medical Leave Act (FMLA) provides that an employer
may requirs an ernployee secking FMLA protections because of a need for leave due to a serious health oanctition to i
submit amedical certification isened by the exiployée’s health care provider, Please complete Section | before giving
this form to your employee. ‘Your response is voluntary. While you are not required to yse this form, you may not ask
the employee to provide more information than allowed under the FMLA, tegulations, 29 CFR. §§ 825,306-825.308,
Bimployers must generally maintain records and documents relating to medical cerlificetions, recertifications, or

_ tnedical histories of employees created for FMLA purposes as confidential medical records in separate files/records
from the usual personnal files and in accordance with 29 CPLR. § 1630.14(c)(1), if the Americans with Disabilities.

Act applies.
Employer name and contact:
Employes’s fob tit Tar CA f x ed hee Regier work schedule:

Employee's essential job functions:

“= Check it job description is attached:

# SLEEP or Cuniplenonetne miu MD Semis
INSTRUCTIONS to the EMPLOYEE: Please complete Section TI before giving iis foxiri to your medical
provider. The FMLA pemnits an employer to require that you submit a timely, complete, and sufficient medical
‘déftification to support arequest for PMLA leavé'dus to your own serious health condition, [freqnested by your
employer, your response is required te obtain or retain the benefit of FMLA protections. 29 U.S.C. §§ 2613,
2614 (c}(3). Failure to provide a complete and sufficient medical cextification may result in. a denial of your FMLA
request. 20 C.B.R. § 825,313. Your employer must give you at least 15 calendar days to return this foun. 29 CER.

§ $25.305(b).
a“ .
Your name: Cu fa ZA . a fail Of
Fut Middle Last
SECTION TTS honWompeahyne EAL ean eR CineR

INSTRUCTIONS to the HEALTH CARE PROVIDER: Your patient has requested leave under the FMLA.
Answer, fully atd completely, all applicable paris. Several questions seek a response as to the frequency or
duration of a condition, treaiment, etc. Your answer should bs your best estimate based upon your medical
knowledge, experience, and examination of the patient. Be as specific as-you can; ferms such as “lifetime,”
“unknovwa,” or “indeterminate” may not be sufficient to determine FMLA coverage. Limit jon responses to the
condition for which the employee 13 seeking leave. Please be sure to sign the form on the |

Cant CLINE
Provider's uae and busines address: Ace. Av; Mites fA. LoS. ULL ET lecroniratey ptt
the orks
Type of practice / Medical specialty: nmnAtite ae
Telephone: (_ 976) Vb lo - 2223 Fox G2) YbO- 529).

Page 1 "CONTINUED ON NEXT PAGE Form WH-380-E Revised January 2009
Case 4:12-cv-40022-TSH Document 1-3 Filed 02/27/12 Page 3 of5

Received at: 10:22AM, 1/21/2011

can 21. 2011 4:22PM Wo. 6372. 3

BARGE VE IGAT AGS
1. Approximate date condition commenced: RY PAY. Lunn tel 0 cH#oget” Po O OF
Probable duration of condition: / ‘bes Bae fem di An pil tan, eat.

Mark below as applicable:
Bs natient admitted for an overnight stay ina hospleal, hospice, or residential medical cave facility?
es. Ifso, dates of admission:

Date(s) ‘you treated the patient for condition:
L Gf The AMP AP Coase 7h fittciteat
Will the patient need to have treatinent visits at least twiee per year due tothe condition? —§ No “7 Yes.

No & Ye

’ Was medication, other than over-the-counter medication, prescribed? as.

\

Was the patient referred to other health care provider(s) for evaluation or treatment (e.p., physical theranist)?
Ne Yes. [fso, state the nature of such treatments and expected duration of treatment:

2.18 the wedical condition pregnancy? ““ No _ Yes. If'so, expected delivery date:

3. Use the information provided by the employer in Section Ito answer this question. [f the employer fails to
provide a list of the employee's essential fimctions ora job description, answer these questions based upon
the employee’s own description of his/her job fictions.

’ Ts the auployce unable to perform any of his/her job fimétionsy die fa the condition: No \ Yes. pa

OMB relevant medical facts, if any, related jo the condition for which the employes seeks leave

(such medical facts may incinde symptoms, diagnisig, or any tegimen of contimaing treatment such ag the use
of specialized equipment):

Padcendt IMac aN, wt Aart WA Dv
(ede OBLLACA ata oh Spe h ls ap. Lan. how
Frm t.. bento Sete o6 Jeo. A bc

Nee DAL My leaps LAM). VLR OAL. plot ke,
“lp apt, thle ebsd Caan
Beds Ade Teta lamarel Synalsume ,

Page2 CONTINUSO ON NEXT PAGER Form WH-180-E Revised Jismary 2009

Ifso, identify the job functions the employee is unable to perform:

eb

Case 4:12-cv-40022-TSH Document 1-3 Filed 02/27/12 Page 4 of 5

Received at: 10:22AM, 1/21/2011

dan 2. D0 3PM No. 6372. 4

5 Will the employee be incapacitated for a single continuous period of time duc to his/her medical condition,
including any time for treatment and recovery? _ No ___ ves.

If go, estitnate the begining and ending dates for the period of incapacity:

6. Will the employes need to attend follow-up treatment appointments oryvork part-time or on a reduced
acheduls beacause of the employee’s medical condition? __No Be

If. so, are the treatments or the reduced number of hours of work medically necessary?
— No _ Yea.

_ Estimate treatment schedule, if any, including the dates of any scheduled appointments and the time
required for each appointment, including any recovery period:

App sastrvens bn eb abril Ur rag bot
Estimate the pati-time ot reduced work schedule OT pany any? :

hourts) per days per week from through

7. Will the condition caugs,episodic flare-ups periodically preventing the employes trom na peony his/her job
fanctions? _.. No ca

‘eit medically necessary for the employes to be absent from work during the flare-ups?
__.. _ No Yes. Ifso, explain:

| PAdan trared Ln Uriel (ATEN CA nisi
dex abloly fp usmle

Based upon the patient’s medical history and your knowledge of the medical condition, estintate the
frequency of flare-ups and the duration of related incapacity that the patient may have over the next 6
months (e.g, 1 episodtevery3 saomthe lasting 1 T-2aaysee rr .

‘Frequency: | times per. | week(s) Ler

fp fi HORAE i SEC 4
SVS

oe ee, ~

hic ar ro

= — prcttent Mase houire Sn cave
Ls AMAL AO ft bet he. WIV fu aaa
binchet ston OIL SAO Asafa —

Fore 3 CONTINUED ON NEXT PAGE Form WH-380-8 Revised January 2009
Case 4:12-cv-40022-TSH Document 1-3 Filed 02/27/12. Page 5of5

Received at: 10:22AM, 1/21/2011

Jan D4. 2011 3:238M oo No. 6372 PS

att OU bhi gy ms. Japs)

Sipkature of Health Care Provider

20210. DO NOT SEND COMPLETED FORM TO THE DEPARTMENT OF LABOR; RETURI TO THE PATIENT.
Page 4
Form WEH-380-8 Revised Jonnary 2009 |
